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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

TERESA BLOODMAN, PARENT AND NATURAL GUARDIAN OF
JOHN DOE, A MINOR CHILD                         PLAINTIFF

V.                              CASE NUMBER: 4:11-CV-00818-JMM

DR. TOM KIMBRELL, ARKANSAS DEPARTMENT OF EDUCATION,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. JERRY GUESS, SUPERINTENDENT, PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. TAMEKA BROWN, PRINCIPAL, MAUMELLE HIGH SCHOOL
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
MICHAEL SHOOK, COACH, MAUMELLE HIGH SCHOOL, INDIVIDUALLY
NAMED AND OFFICIAL CAPACITY;
GROVER GARRISON, COACH, MAUMELLE HIGH SCHOOL, NDIVIDUALLY
NAMED AND OFFICIAL CAPACITY;
SHERMAN COX, ATHLETIC DIRECTOR, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY         DEFENDANTS


     MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION FILED
                 PURSUANT TO FED. R. CIV. P. 12(b)(6)

        Comes now the Plaintiff and for her motion states:

        1.      That the named defendants herein, electronically filed a motion for relief

pursuant to Fed. R. 12 (b)(6) alleging inter alia that the Plaintiff had failed to state a claim

for relief.

        2.      That the complaint of the Plaintiff herein is based upon certain rights

guaranteed under both the Arkansas and United States Constitution.

        3.      That prior to the Defendant’s filing of the Motion to Dismiss, Plaintiff

requested but has not yet received certain documents and information believed to be

germane and relevant to the prosecution of the complaint filed herein.




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          4.    That the failure of a named defendant to provide the information requested

previously under the laws of the State of Arkansas and specifically, the Freedom of

Information Act for the State of Arkansas has hampered and delayed the Plaintiff from

providing a meaningful response to the Motion to Dismiss.

          5.    That there is currently pending before the Pulaski County Prosecuting

Attorney, a request to enforce the Plaintiff’s right to information requested and that is

relevant and necessary to respond to the Motion filed herein.

          6.    That the Plaintiff is not making this motion for the purpose of delay, but

verily believes that an additional thirty (30) days is necessary in order to enforce rights

under Arkansas Law and to obtain the relevant and probative information to which she is

entitled.

          7.    That this motion is in the best interest of justice and will not affect the

rights of the parties herein.

          WHEREFORE the undersigned prays that this grant an extension of time within

which to respond to the Motion to Dismiss filed herein and all other proper and just

relief.



                                                        Respectfully submitted,


                                                        /s/Teresa Bloodman
                                                        Teresa Bloodman #2005055
                                                        Attorney for Plaintiff
                                                        P.O. Box 13641
                                                        Maumelle, AR 72113
                                                        (501) 373-8223 Office
                                                        (501) 847-4040 Facsimile
                                                        teresabloodman@yahoo.com



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                            CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 16th day of December 2011, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF System,
which will send notification of such filing to all CM/ECF participating counsel of record
listed below; and I further certify that I have mailed the document, via U.S. Mail, postage
prepaid, to all non CM/ECF participants listed below:

Mr. George J. Bequette, Esq.
425 West Capitol Avenue, Suite 3200
Little Rock, AR      72201
Telephone: (501) 374-1107
Fax: (501) 374-5092
jbequette@bbpalaw.com

                                                     /s/Teresa Bloodman




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